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                  UNITED STATES DISTRICT COURT
     IN THE EASTERN DISTRICT OF MICHIGAN -- SOUTHERN DIVISION

MARC BEGININ,
   Plaintiff,


-vs-                                              Case No.
                                                  Hon.
                                                  DEMAND FOR JURY TRIAL

EQUIFAX INFORMATION SERVICES, LLC,
    Defendant.

                        COMPLAINT & JURY DEMAND


Marc Beginin states the following claims for relief:


                                    Jurisdiction

1.     All allegations and claims in this complaint stem from false and inaccurate

       credit reporting relating to Plaintiff Marc Beginin.

2.     Mr. Beginin brings this lawsuit under the Fair Credit Reporting Act (“FCRA”),

       15 U.S.C. § 1681 et seq.

3.     This claims arising under the FCRA present a federal question for purposes of

       28 U.S.C. §1331.

4.     This Court has jurisdiction under 28 U.S.C. §1331 and 15 U.S.C. § 1681p.




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                                       Parties

5.    The Plaintiff to this lawsuit is Mr. Marc Beginin (“Mr. Beginin” or “Plaintiff”),

      a natural person who resides in Birmingham, Michigan.

6.    Mr. Beginin is a “consumer” as defined by the FCRA, 15 U.S.C. §1681a(c).

7.    The Defendant to this action is Equifax Information Services, LLC (“Equifax”).

8.    Equifax is a “consumer reporting agency” as contemplated by the FCRA, 15

      U.S.C. § 1681a(f).

                                       Venue

9.    The transactions and occurrences which give rise to this action occurred in

      Oakland County, Michigan.

10.   Venue is proper in the Eastern District of Michigan.

                           General Factual Allegations

11.   Approximately five years ago, Mr. Beginin incurred a federal tax lien (“the

      lien”).

12.   This lien was reported by Equifax.

13.   In or around October 2012, Mr. Beginin satisfied the lien and was given a

      “Certificate of Release of Federal Tax Lien”.

14.   Despite having satisfied the lien, Equifax continued to report a balance owed

      under the lien.


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15.   Mr. Beginin disputed this inaccurate information with Equifax on multiple

      occasions.

16.   Notwithstanding these disputes, Equifax has entirely failed to correct the

      erroneous information on Mr. Beginin’s report.

17.   Equifax failed in its duties to properly reinvestigate Mr. Beginin’s disputes.

18.   Equifax further failed to follow reasonable procedures to assure maximum

      possible accuracy of Mr. Beginin’s consumer report.

19.   As of the date of filing this complaint, Mr. Beginin’s Equifax report still states

      that he owes money under the lien.

20.   On or around August 27, 2015, Mr. Beginin contacted Equifax to receive a

      copy of his Equifax consumer disclosure.

21.   Equifax entirely failed to respond to Mr. Beginin’s request.

22.   As a result, on or around May 18, 2016, Mr. Beginin again requested his

      Equifax consumer disclosure.

23.   As of the date of filing this complaint, Mr. Beginin has not received any

      response from Equifax.

                   Count I – FCRA, 15 U.S.C. § 1681 et seq.

24.   Mr. Beginin incorporates the preceding allegations by reference.

25.   Equifax prepared one or more consumer reports relating to Mr. Beginin.


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26.   Those consumer reports contained the inaccurate information identified above.

27.   Equifax failed to follow reasonable procedures to assure maximum possible

      accuracy of the information concerning Mr. Beginin contained within those

      reports.

28.   Equifax violated the FCRA, 15 U.S.C. § 1681e(b).

29.   Equifax’s violation of the FCRA was negligent and caused harm to Mr.

      Beginin in violation of 15 U.S.C. §§ 1681e(b) and 1681o; alternatively

      Equifax’s violation of the FCRA was willful and in violation of 15 U.S.C. §§

      1681e(b) and 1681n.

30.   Equifax violated the FCRA, 15 U.S.C. § 1681g(a).

31.   Equifax’s violation of the FCRA was negligent and caused harm to Mr. Beginin

      in violation of 15 U.S.C. §§ 1681g(a) and 1681o; alternatively Equifax’s

      violation of the FCRA was willful and in violation of 15 U.S.C. §§ 1681g(a)

      and and 1681n.

32.   Mr. Beginin requested reinvestigations of inaccurate credit information

      maintained by Equifax within his credit file.

33.   Equifax failed to conduct proper investigations into Mr. Beginin’s credit

      reporting disputes as required by 15 U.S.C. § 1681i.

34.   Equifax has negligently violated the FCRA, 15 U.S.C. §§ 1681i and 1681o;


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      alternatively Equifax has wilfully violated the FCRA, 15 U.S.C. §§ 1681i and

      1681n.

35.   Mr. Beginin has suffered damages as a result of these violations of the FCRA.

                                    Jury Demand

36.   Mr. Beginin demands trial by jury.

                                 Request For Relief

37.   ACCORDINGLY, Mr. Beginin respectfully requests that the Court Grant any

      or all of the following relief:

      a.       Actual damages for items including, but not limited to, emotional

            distress, mental aguish, frustration, humiliation, and embarrassment.

      b.    Statutory damages in an amount to be determined at trial.

      c.    Punitive damages in an amount to be determined at trial.

      d.    Costs and attorney fees provided by statute.

      e.    Declaratory and injunctive relief as appropriate.

      f.    Any other relief the Court deems just.




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                                  Respectfully Submitted,


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Dated: May 27, 2016




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